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January 3, 2022

VIA ECF

The Honorable Michael J. Davis
Sr. U.S. District Judge, District of Minnesota
Courtroom 13E – United States District Court
300 South Fourth Street
Minneapolis, MN 55415

Re:    Vanegas v. Carleton College – Case No. 19-cv-1878

Dear Judge Davis:

In accordance with L.R. 7.1(j), Defendant Carleton College submits this letter in
opposition to Plaintiff’s request (ECF No. 125) to file a motion to reconsider the Court’s
Order granting summary judgment to Carleton (ECF No. 123).

Plaintiff must establish “compelling circumstances” to justify a motion to reconsider. L.R.
7.1(j). Such motions “serve a limited function: to correct manifest errors of law or fact or
to present newly discovered evidence.” Hagerman v. Yukon Energy Corp., 839 F.2d
407, 414 (8th Cir. 1988).

Plaintiff identifies no manifest errors of law, no newly discovered evidence, nor anything
else remotely compelling. Instead, Plaintiff makes arguments that he could have and
should have made in his summary judgment briefing. This does not warrant a motion to
reconsider. Fuller v. Hafoka, 2020 WL 5350270, at *1 (D. Minn. Sept. 4, 2020) (no
compelling circumstances exist where “Plaintiff is not raising any matter that was not or
could not have been addressed in his [prior] briefing . . . .”) (emphasis added); Kolosky
v. State of Minn., 2006 WL 1314301 at *1 (D. Minn. May 11, 2006) (L.R. 7.1(j) is not a
vehicle for “a second bite at the apple”). For this reason alone, Plaintiff’s request should
be denied.

Plaintiff’s request is also baseless on the merits. First, his claim that “the Court was led
into error by Carleton’s brief (and counsel’s Declaration)” is nonsense. The Court had
before it Dean Livingston’s deposition testimony relating to the Executive Authority
provision of Carleton’s policy. She testified that she verbally told the President of her
decision to expel Plaintiff and the President responded “Okay.” (ECF No. 80 at 95:25-
96:1, 97:3-97:5.) The Court cited to Dean Livingston’s deposition testimony—not to
Carleton’s brief or declaration of its counsel—in finding Dean Livingston “obtained the
President’s consent before expelling Plaintiff” and that “Plaintiff has provided no
evidence to refute this testimony.” (ECF No. 123 at 35.) It did not rely on Carleton’s brief
or any declaration of counsel.

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Second, Plaintiff’s singular focus on the President’s response to Dean Livingston
misses the forest for the trees. It is Plaintiff’s burden to prove that he was expelled
arbitrarily, and Plaintiff cites no authority for the notion that the issues raised in his
reconsideration request should change the Court’s thorough summary judgment
analysis on the overall arbitrariness issue. (See ECF No. 123 at 20.) One of the many
ways Plaintiff attempted—and failed—to meet his burden was to argue that the
Executive Authority provision was not followed. As the Court noted, Plaintiff offered no
evidence to support this argument.

For its part, Carleton presented unrefuted evidence that the Executive Authority
provision was followed. For starters, Dean Livingston testified, consistent with the
language of the Executive Authority provision, that she was a “designee” of the
President who was empowered to “expel, suspend, or otherwise take action” with
respect to Plaintiff. (ECF No. 123 at 35 (quoting Executive Authority provision)); (ECF
No. 80 at 98:19-99:6 (Dean Livingston testimony)); (ECF No. 80-3 at 10-11 (sexual
misconduct policy stating expulsion as potential sanction and empowering appeal
adjudicator to adjust sanctions).) Accordingly, she had the authority to expel Plaintiff as
the President’s “designee.”

Dean Livingston’s testimony that she told the President she was going to expel Plaintiff
is further proof that Carleton followed the provision. She testified that she talked to the
President and believed she had his consent. This same testimony could be offered at
trial with no hearsay problem. Further, the President’s statement (“Okay”) is not being
offered “to prove the truth of the matter asserted in the statement.” See Fed. R. Evid.
801(c)(2).

Plaintiff filed 75 pages of briefing at the summary judgment stage and the Court heard
oral argument. (See ECF Nos. 73, 95, 98.) In his final brief, Plaintiff stated he would not
further “burden this Court” and had “clearly provided the facts of this case and the
applicable law in previous filings.” (ECF 98 at 4.)

That Plaintiff, having lost at summary judgment, wants to rehash this issue does not
amount to “compelling circumstances.” L.R. 7.1(j); see Fuller, 2020 WL 5350270 at *1.
Plaintiff had the opportunity and the obligation to present all of his arguments at
summary judgment and his request to file a motion to reconsider should be denied.

Very truly yours,

Sean R. Somermeyer

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          SOMERMEYER SULLIVAN PLLC · 225 South Sixth Street · Suite 3900 · Minneapolis, MN 55402
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